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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


Bessie Jones, et al.,                            :
                                                 :   Case Number: 1:04cv616
               Plaintiffs,                       :
                                                 :   Chief Judge Susan J. Dlott
       v.                                        :
                                                 :   ORDER DENYING MOTION
City of Cincinnati, et al.,                      :   FOR RECONSIDERATION
                                                 :
               Defendants.                       :



       This matter is before the Court on the Motion to Reconsider the Motion for Summary

Judgment of the Police Officers (doc. 151). Defendant seeks a reconsideration of the

conclusions reached by this Court in its Order of September 28, 2011, which granted in part and

denied in part the Motion for Summary Judgment of Defendant Police Officers (doc. 93).

       Motions for reconsideration generally concern assertions of new evidence, an intervening

change in law, or some combination of clear error and manifest injustice. 18B Charles Alan

Wright & Arthur R. Miller, Federal Practice and Procedure § 4478 at 671-72 (2d ed. 2002). In

this case, there is no intervening change of controlling law, and Defendants have submitted no

new evidence. Rather, Defendants imply that the Court has omitted or misapprehended certain

facts and that the decision is therefore erroneous. Specifically, Defendants ask for

reconsideration on three issues, all based on disputed issues of fact: Officer Pike’s and Officer

Osterman’s use of force in using their batons against Nathaniel Jones, the officers’ denial of

adequate medical care to Jones, and Officer Abrams’ refusal to remove Jones’ handcuffs at the

request of emergency medical personnel.

       To reverse its ruling on these issues and find in Defendants’ favor would require this
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Court to weigh disputed facts and make credibility determinations. That is the jury’s role, not

the Court’s. Defendants have not demonstrated that this Court’s decision was clearly erroneous

or would work a manifest injustice. The proper forum for additional argument is in the Court of

Appeals.

       For these reasons, the Motion to Reconsider the Motion for Summary Judgment of the

Police Officers (doc. 151) is DENIED.

       IT IS SO ORDERED.



                                                     ___s/Susan J. Dlott___________
                                                     Chief Judge Susan J. Dlott
                                                     United States District Court




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